                                          UNITED STATES DISTRICT COURT
                      Case 2:11-cr-00360-WBS   Document
                                      EASTERN DISTRICT OF4CALIFORNIA
                                                           Filed 08/17/11 Page 1 of 1

UNITED STATES OF AMERICA                                  )
                                                          )       Case. No. 2:11-MJ-00246 KJN
                 v.                                       )
                                                          )
DARRYL MELSON EVERETT                                     )


                                 APPLICATION FOR WRIT OF HABEAS CORPUS

         The undersigned attorney hereby applies to the Court for the issuance of a writ of habeas corpus
                        (X) Ad Prosequendum                               () Ad Testificandum

Name of Detainee:        DARRYL MELSON EVERETT
Detained at (custodian):
Detainee is:             a.)  (X) charged in this district by: () Indictment () Information (X) Complaint
                                      charging detainee with: Title 18, United States Code, Sections 2, 1708-
Theft,                                    1708-Possession, 2115-Burglary, and 1344(2)-Bank Fraud ,

                 or       b.)    () a witness not otherwise available by ordinary process of the Court
Detainee will:            a.)    () return to the custody of detaining facility upon termination of proceedings
                 or       b.)    (X) be retained in federal custody until final disposition of federal charges, as a sentence
                                 is currently being served at the detaining facility

         Appearance is necessary FORTHWITH in the Eastern District of California.

                                 Signature:                       /s/ MICHELLE RODRIGUEZ
                                 Printed Name & Phone No:         MICHELLE RODRIGUEZ, Tel: 916-554-2700
                                 Attorney of Record for:          United States of America

                                            WRIT OF HABEAS CORPUS
                          (X) Ad Prosequendum                 () Ad Testificandum

         The above application is granted and the above-named custodian, as well as the United States Marshal's Service
for this district, is hereby ORDERED to produce the named detainee, FORTHWITH, and any further proceedings to be
had in this cause, and at the conclusion of said proceedings to return said detainee to the above-named custodian.

 Dated: August 17, 2011

                                                               _____________________________________
                                                               CAROLYN K. DELANEY
                                                               UNITED STATES MAGISTRATE JUDGE
Please provide the following, if known:

AKA(s) (if applicable):          DARRYL MELSON                                              Male
Booking or CDC #:                X-1758925 Booking/Reg #09589705                            DOB: 11/08/64
Facility Address:                Sacramento County Main Jail                                Race:
                                 651 “I” Street                                             FBI #:
                                 Sacramento, CA 95814
Facility Phone:
Currently Incarcerated For: Felony-Municipal Court Case
________________________________________________________________________________________________
                                                   RETURN OF SERVICE

Executed on      ____________________________                     By: ___________________________________________________
                                                                      (Signature)
